       Case 18-26631            Doc 25       Filed 11/12/18 Entered 11/12/18 11:18:45                         Desc Main
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                                            United States Bankruptcy Court
                                         Northern District of Illinois, Eastern Division

IN RE: Brianna Sanders                                          )              Chapter 13
                                                                )              Case No. 18 B 26631
         Debtor(s)                                              )              Judge Deborah L. Thorne

                                                      Notice of Motion

     Brianna Sanders                                                           Debtor A ttorney: David M Siegel
     2541 West 70th Street                                                     via Clerk's ECF noticing procedures
     Apt. 1
     Chicago, IL 60629


                                                                               >   Dirksen Federal Building
On November 28, 2018 at 10:30 am, I will appear at the location listed to      >   219 South Dearborn
the right, and present this motion.                                            >   Courtroom 613
                                                                               >   Chicago, IL 60604
I certify under penalty of perjury that this office caused a copy of this
notice to be delivered to the persons named above by U.S. mail or by the
                                                                               /s/ MARILYN O. MARSHALL
methods indicated on or before Tuesday, November 13, 2018.
                                                                               MARILYN O. MARSHALL, TRUSTEE

                                   Motion to Dismiss Case For Unreasonable Delay

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed, as Debtor(s) failed to file the
required documents pursuant to 11 USC §521, §1307, §349, and Rule 3015, and in support thereof states the following:

1.   Debtor(s) filed for Chapter 13 on 09/21/2018.

2.   The debtor(s) have failed to begin payments within thirty days of filing the plan as required under 11 U.S.C. §1326(a) (1).


3.   The debtor(s) have failed to maintain payments to the Trustee's office as required under 11 U.S.C. §1326.

4.   The debtor(s) have failed to amend schedule I for new job and failed to provide current paystub or to otherwise correct
     the amount of income.

5.   The debtor(s) have failed to amend schedule B to list the value of their assets.

6. The stay has been extended in this case and the debtor has failed to timely make their first plan payment.

7.   The debtor's failure to confirm a plan in a timely manner constitutes unreasonable delay.

WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this court deems just and proper.


Office of the Chapter 13 Trustee                                               /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                             MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312) 431-1300
